       Case 8:17-bk-13818-ES Doc 33 Filed 12/18/17 Entered 12/18/17 20:01:38                                            Desc
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FormCACB 105 (AO:finmgtnotice)
(10/05 Rev. 12/2015)
WARNING: YOU WILL NOT RECEIVE A DISCHARGE UNLESS YOU TAKE THE REQUIRED PERSONAL FINANCIAL
MANAGEMENT COURSE AFTER YOU FILE BANKRUPTCY AND YOUR COURSE PROVIDER FILE THE DEBTOR'S
CERTIFICATION OF COMPLETION OF THE COURSE OR YOU FILE OFFICIAL FORM 423 CERTIFYING THAT YOU
COMPLETED THIS COURSE.
ADVERTENCIA: NO RECIBIRÁ UNA DESCARGA DE BANCARROTA A MENOS QUE TOME EL CURSO REQUERIDO DE
ADMINISTRACIÓN DE FINANZAS PERSONALES DESPUES DE PRESENTAR SU BANCARROTA Y SU PROVEEDOR
ARCHIVE LA CERTIFICACIÓN DE FINALIZACIÓN DE CURSO O USTED PRESENTE EL FORMULARIO OFICIAL 423
CERTIFICANDO QUE HA CUMPLIDO CON ESTE CURSO.
                                          United States Bankruptcy Court
                                            Central District of California
                                 411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593

                          NOTICE OF REQUIREMENT TO FILE A
                CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE
                                  (Official Form 423)

   DEBTOR(S) INFORMATION:                                                             BANKRUPTCY NO. 8:17−bk−13818−ES
   Hans Nearhoff
   SSN: xxx−xx−8409                                                                   CHAPTER 13
   EIN: N/A
   4790 Irvine Blvd.
   Ste 105132
   Irvine, CA 92620




Notice is given that, subject to limited exceptions, a debtor must complete an instructional course in personal financial
management in order to receive a discharge under chapter 13 (11 U.S.C. § 1328(g)). Pursuant to Rule 1007(b)(7) of the Rules
of Bankruptcy Procedure, the debtor must complete and file the Certification About a Financial Management Course (Official
Form 423)* as described in 11 U.S.C. § 111 unless the course provider has already notified the court of the debtor's completion
of the course. To view a list of approved providers of Personal Financial Management Instructional Course, go to
http://www.justice.gov/ust/eo/bapcpa/ccde/cc_approved.htm.

Debtor(s) and/or debtor's attorney is/are notified that Official Form 423 must be filed by debtor before a discharge can be
entered unless the course provider has already notified the court of the debtor's completion of the course. Debtor and/or
debtor's attorney is notified that the debtor must file Official Form 423 no later than the last payment made by the debtor as
required by the plan, or the filing of a motion for entry of discharge under 11 U.S.C. § 1328(b) unless the course provider has
already notified the court of the debtor's completion of the course. Failure to file the certification will result in the case being
closed without an entry of discharge. If the debtor subsequently files a Motion to Reopen the Case to allow for the filing of the
Official Form 423, the debtor must pay the full reopening fee due for filing the motion.

This is not the same form as the Certificate of Credit Counseling that you may have filed at the beginning of your case. This is a
different form. A copy of the Official Form 423 is included with this notice. Additional copies of the Official Form 423 can be
obtained at www.cacb.uscourts.gov.


                                                                                  BY THE COURT,
Dated: December 19, 2017                                                          Kathleen J. Campbell
                                                                                  Clerk of Court

*NOTE: Official Form 423 (Certification About a Financial Management Course) must be filed by every individual debtor in a
chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case. If a joint petition is filed, each spouse must complete
and file a separate certification. See Fed.R.Bank.P.1007(b).

                                       THE OFFICIAL FORM 423 IS ATTACHED

(Form VAN−105 − defina) rev. 12/2015                                                                                         33 / AUT
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